Case 3:21-cv-00179-JAG-EWH Document4 Filed 06/07/21 Page 1 of 2 PagelD# 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

MICHAEL TAYLOR,

Plaintiff,
v. Civil Action No. 3:21CV179
UNKNOWN,

Defendant.

MEMORANDUM OPINION

By Memorandum Order entered on April 30, 2021, the Court conditionally docketed
Plaintiff's civil action. At that time, the Court directed Plaintiff to submit a statement under oath
or penalty of perjury that:

(A) Identifies the nature of the action;

(B) States his belief that he is entitled to relief;

(C) — Avers that he is unable to prepay fees or give security therefor; and,

(D) Includes a statement of the assets he possesses.
See 28 U.S.C. § 1915(a)(1). The Court provided Plaintiff with an in forma pauperis affidavit form
for this purpose.

Additionally, the Court directed Plaintiff to affirm his intention to pay the full filing fee by
signing and returning a consent to collection of fees form. The Court warned Plaintiff that a failure

to comply with either of the above directives within thirty (30) days of the date of entry thereof

would result in summary dismissal of the action.
Case 3:21-cv-00179-JAG-EWH Document 4 Filed 06/07/21 Page 2 of 2 PagelD# 16

Plaintiff has not complied with the orders of this Court. Plaintiff failed to return a
completed in forma pauperis affidavit form and a consent to collection of fees form. As a result,
he does not qualify for in forma pauperis status. Furthermore, he has not paid the statutory filing
fee for the instant action. See 28 U.S.C. § 1914(a). Such conduct demonstrates a willful failure to
prosecute. See Fed. R. Civ. P. 41(b). Accordingly, this action will be DISMISSED WITHOUT

PREJUDICE.

An appropriate Order shall accompany this Memorandum Opinion.

 

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John A. Gibney, Jr.

Date: 7 ime D071 United States District Judge
Richmond, Virginia

 

 

 
